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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

JENS H.S. NYGAARD,

              Plaintiff,
                                                       Case No. 6:20-cv-00234-ADA
      v.
                                                        JURY TRIAL DEMANDED
FÉDÉRATION INTERNATIONALE DE
L’AUTOMOBILE, FORMULA ONE
MANAGEMENT LTD., FORMULA ONE
WORLD CHAMPIONSHIP LTD., MERCEDES-
BENZ GRAND PRIX LTD., DAIMLER AG,
RED BULL TECHNOLOGY LTD., RED BULL
RACING LTD., FERRARI S.P.A., AND
DALLARA AUTOMOBILI S.P.A.,

              Defendants.


                    ORDER GRANTING JOINT MOTION
     TO EXTEND STAY OF ALL CASE DEADLINES TO FINALIZE SETTLEMENT

        The Court having considered Plaintiff Jens Nygaard, and the FIA and the Formula One

 Defendants’ Joint Motion to Extend Stay of All Case Deadlines to Finalize Settlement, and good

 cause having been shown, the Court is of the opinion that the Motion should be granted.

 Accordingly, it is hereby ORDERED that the motion is GRANTED. All case-related deadlines,

 hearings, and other scheduled matters be and are STAYED through November 10, 2022. The

 parties shall file all necessary dismissal documents on or before November 10, 2022.

        SIGNED this 6th day of October, 2022.




                                                 _________________________________
                                                 ALAN D ALBRIGHT
                                                 UNITED STATES DISTRICT JUDGE
